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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: BPS DIRECT, LLC, AND : MDL 3074
CABELA’S, LLC, WIRETAPPING

E.D.Pa. ACTION NOS:.:
23-md-3074

22-cv-4709

23-cv-2282

23-cv-2287

23-cv-2293

23-cv-2294

23-cv-2295

23-cv-2306

23-cv-2338

ORDER
AND NOW, this 20" day of June 2023, upon considering the Multi-District Litigation
Panel’s transfer to our docket for pretrial management (ECF Doc. No. 1) and Conditional Transfer
Order No. 1 (ECF Doc. No. 2), consistent with Fed. R. Civ. P. 1, and expecting professionalism,

courtesy, and civility will permeate these proceedings, it is ORDERED:'

1. Parties and counsel are governed by our Court’s Local Rules and our Chambers
Policies and Procedures in effect at the time of the anticipated action found at
www.paed.ucourts.gov unless altered by a specific case management Order;

2. This Order applies to cases later filed in, removed to, or transferred to this District

as assigned to our docket;

 

' The Manual for Complex Litigation, Fourth at section 10.21 captures the spirit:

The added demands and burdens of complex litigation place a premium on attorney
professionalism, and the judge should encourage counsel to act responsibly. The
certification requirements of Federal Rules of Civil Procedure 11 and 26(g) reflect
some of the attorneys’ obligations as officers of the court.
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3. On or before June 28, 2023:
a. Defendants’ counsel (who seem to work in the same law firm) shall file (or refile),
a disclosure of all owners of the Defendants for purposes of conflict analysis and confirming

diversity of citizenship in cases invoking our diversity subject matter jurisdiction;

 

b. Counsel shall file a Notice of withdrawing a pending motion without prejudice as
filed in the transferor District if now mooted by consolidation and transfer to our Docket;
4, We will strive to avoid duplicative filings and unnecessary effort under Rule 1
requiring we today stay until further Order:
a. all obligations to timely move to dismiss or respond to pleadings or pending

motions to dismiss until further Order;? and,

 

Our review of pending motions, subject to the Status Report update, include: (1) Defendant
Cabela’s Motion to dismiss Plaintiff's Class Action Complaint in Montecalvo v. Cabela’s Inc.,
No. 23-2282 (E.D. Pa.) at ECF Doc. No. 19; (2) Defendant BPS Direct’s Motion to dismiss
Plaintiff's Class Action Complaint in Hernandez v. BPS Direct, LLC, No. 23-2338 (E.D. Pa.) at
ECF Doc. No. 13; (3) Defendant BPS Direct’s Motion to transfer to the Western District of
Pennsylvania, or alternatively stay, and for an extension of time to file its responsive pleading in
Vonbergen v. BPS Direct, LLC, No. 22-04709 (E.D. Pa.) at ECF Doc. No. 7; (4) Defendant BPS
Direct’s Motion to consolidate with Calvert v. Cabela’s LLC, or alternatively stay in Cornell v.
BPS Direct, LLC, No. 23-2294 (E.D. Pa.) at ECF Doc. No. 7; (5) Defendant BPS Direct’s Motion
to dismiss Plaintiff's Class Action Complaint in Cornell y. BPS Direct, LLC, No. 23-2294 (E.D.
Pa.) at ECF Doc. No. 8; (6) Plaintiff Heather Cornell’s Motion to stay pending likely transfer by
the Judicial Panel on Multidistrict Litigation in Cornell v. BPS Direct, LLC, No. 23-2294 (E.D.
Pa.) at ECF Doc. No. 11; (7) Defendant Cabela’s Motion to dismiss Plaintiff's Amended Class
Action Complaint in Calvert v. Cabela’s LLC, No. 23-2293 (E.D. Pa.) at ECF Doc. No. 16; (8)
Plaintiff Brian Calvert’s Motion to stay pending likely transfer by the Judicial Panel on
Multidistrict Litigation in Calvert v. Cabela’s LLC, No. 23-2293 (E.D. Pa.) at ECF Doc. No. 19.
We are also aware of Defendants BPS Direct and Cabela’s Motion to dismiss Plaintiff’s Class
Action Complaint in Jrvin v. Cabela’s LLC, No. 23-530 (M.D. Pa.) at ECF Doc. No. 13. The Panel
filed a Conditional Transfer Order on June 14, 2023 in Irvin v. Cabela’s LLC, which Plaintiff
opposed on June 16, 2023. See Inre: BPS Direct, LLC and Cabela’s, LLC, Wiretapping Litigation
MDL No. 3074 (J.P.M.L.) at ECF Doc. Nos. 1, 4.

 
 

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b. outstanding disclosure and discovery obligations but we do not (1) preclude
discovery regarding the identification and location of relevant documents and witnesses; (2)
preclude parties from stipulating to conduct a noticed and scheduled deposition; (3) prevent a party
from voluntarily making disclosures or responding to an outstanding discovery request under
Federal Rule of Civil Procedure 33, 34, or 36; or (4) authorize a party to suspend its efforts in
gathering information needed to respond to a request under Rule 33, 34, or 36. Relief from this
stay may be granted for good cause shown, such as the ill health of a proposed deponent;

5. Status Report by July 6, 2023. Defendants’ counsel, seemingly centered in one law
firm, shall meaningfully confer with each of the Plaintiffs’ counsel either collectively or
individually to discuss proposals for further progress so as to allow Defendants’ counsel to file a
joint Report identifying the status of Rule 26 initial disclosures and discovery in each case, the
identity of each known case and counsel potentially subject to a tag-along order, and each party’s
proposals to promptly resolve pre-trial matters not exceeding twenty pages (in the aggregate) and
without admitting or waiving a claim, argument, or defense, on or before July 6, 2023 addressing,
by way of example:

a. common themes and defenses across all cases;°

 

3 Our initial review of common issues among the pending cases centers around the wiretapping
and privacy claims. For the wiretapping claims, it appears from our review and subject to counsels’
input, we may need to determine how Defendants acquired Plaintiffs’ Website Communications;
whether Plaintiffs’ Website Communications qualify as contents; whether Plaintiff's Website
Communications were wire communications; whether Session Replay Code is an intercepting
“device;” whether the Session Replay Code which embeds into the Defendants’ website through
Plaintiffs’ phones and computers acts as a component of the telephone; if Defendants intercepted
Plaintiffs’ Website Communication or attempted to, whether they did so with intent or knowledge;
whether Defendants procured third-party vendors to intercept information; whether Defendants
knew the information they procured intercepted information; whether Defendants or Plaintiffs
were consenting parties to the intercepted communication; and whether Defendants’ privacy
statement provide a reasonable person with timely notice they recorded Website Communication.
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b. stipulated facts across all cases;

c. status of settlement discussions as to a claim in any case;

d. list of ripe motions and status of all related cases pending in state or federal court;

e. agreement on interim lead and liaison Plaintiffs’ counsel;

f. grouping of Plaintiffs for purposes of pretrial management based on the asserted
state law claims and, if so, the need and possible identity of lead Plaintiffs’ counsel for each group;*

g. need for consolidated complaint(s) and prompt filing deadline after resolving the
roles of Plaintiffs’ counsel;

h. one deadline for addressing imminent or pending dispositive motions on the

pleadings should we find no need for consolidated complaint(s) at this stage;

 

For the state privacy violations, it appears we must determine whether Plaintiffs’ Website
Communications were matters of solitude or private matters or affairs; whether Plaintiffs had a
right to or expectation of privacy; and whether Defendants intruded unreasonably.

* Counsel should consider whether we may, based on our initial review of the Complaints, group
Plaintiffs based on the similarities of their claims. For example, Plaintiffs’ claims under
Pennsylvania and Maryland wiretapping statutes are similar and based on the federal wiretapping
statute. Their only difference appears to arise in the mens rea language with Pennsy!vania requiring
Defendant “intentionally intercept” and Maryland requiring Defendant “willfully intercept.” See
18 Pa. Stat. and Cons. Stat. § 5703; Md. Code, Cts. & Jud. Proc. § 10-402. The Massachusetts and
Missouri wiretapping statutes are narrower versions of the federal wiretapping statute. For
example, while Pennsylvania, Maryland, and federal wiretapping statutes include “wire, oral,
electronic communication,” within the definition of “content,” Missouri only includes “wire
communication” and Maryland includes “wire or oral communication.” See 18 Pa. Stat. and Cons.
Stat. § 5703; Md. Code, Cts. & Jud. Proc. § 10-402; Mo. Stat. § 542.400; Mass. Gen. Laws ch.
272, § 99. So we should collectively consider grouping the Missouri and Massachusetts actions
separately from Maryland and Pennsylvania actions for purposes of briefing.

All state privacy claims share similar elements, making them suitable for grouping during briefing.
Mr. Tucker and Mr. Durham’s state trespass to chattels claims appear appropriate for grouping for
briefing purposes because they share similar elements including whether Defendants engaged in
unfair or fraudulent business practices. See Mo. Stat. § 407.020; Cal. Bus. & Prof. Code § 17200.
Mr. Tucker and Mr. Durham both bring claims under federal statutes—the Stored Communications
Act and Computer Fraud and Abuse Act—which we may also group for briefing purposes.

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i. schedules for Rule 26 initial disclosures and core discovery including whether we
should appoint a Rule 53 Master for either discovery or settlement now and suggestions for the
Master mindful we may ask counsel to later show cause as to why we should not appoint the
Honorable Thomas I. Vanaskie (Ret.) as the Special Master should the parties be unable to agree
upon another Rule 53 Special Master;

j. deadlines for moving for class certification, discovery, and certification hearing;
and,

k. counsels’ preference in scheduling our initial pre-trial Conference in Courtroom 6B
on either: July 24 or 25, 2023 at either 9:30 or 1:30; July 26, 2023 at 2:30; July 27, 2023 at
9:30; or July 28, 2023 at 3:00. We allow specially admitted out-of-District counsel unable to
attend in person to listen on our conference line so long as co-counsel for their client is present and
prepared to address all issues in the Courtroom;

6. We intend to appoint Plaintiffs’ lead and liaison counsel and/or steering committee.
Absent agreement described in the Status Report, counsel are granted leave to move for
appointment on or before July 11, 2023 compliant with our Policies mindful we will consider,
among other factors:

a. attorneys who filed a civil action in this litigation;

b. willingness and ability to commit to a time-consuming process;

c. ability to work cooperatively with others;

d. professional experience in this type of litigation;

e. access to sufficient resources to advance the litigation in a timely manner; and

f. attorney fee proposals, rates, and percentages counsel expect to seek if the parties

agree to create a common fund to settle one or more claims;
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7. Counsel are granted leave to oppose motions for lead or liaison counsel by July 21,
2023; and,
8. We serve this Order to the persons on the docket making appearances in the

transferred matters or with the Judicial Panel on Multidistrict Litigation and require Defendants’
counsel email a copy of this Order to other attorneys not yet on the docket but knowingly involved
in the cases to date by no later than June 22, 2023 along with filing a certificate of service

confirming compliance with this service obligation by no later than June 23, 2023.

KEA iJ.
